          Case 1:18-cr-00326-JKB Document 81 Filed 03/28/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                              :
                                                      : 18-cr-326-JKB
               v.                                     :
                                                      :
MARQUISE MCCANTS                                      :
                                                      :


                RESPONSE TO GOVERNMENT’S MOTION TO DISMISS

       Marquise McCants, by and through undersigned counsel, respectfully submits the

following in response to the Government’s Motion to Dismiss (ECF 80). Mr. McCants does not

object to the dismissal but requests that the dismissal be with prejudice.

                                              Respectfully submitted,

                                              /s/ Jenifer Wicks
                                              _________________________
                                              JENIFER WICKS

                                              Law Offices of Jenifer Wicks
                                              6909 Laurel Avenue Suite 5419
                                              Takoma Park MD 20913
                                              Telephone (240) 468-4892
                                              Facsimile (202) 478-0867
                                              Jenifer@JWicksLaw.com

                                              _____/s/___________________
                                              CHRISTOPHER NIETO

                                              Law Office of Christopher C. Nieto, L.L.C.
                                              1 N. Charles Street Suite 1301
                                              Baltimore, Maryland 21201
                                              (443) 863-8189
           Case 1:18-cr-00326-JKB Document 81 Filed 03/28/19 Page 2 of 2




                                 CERTIFICATE OF SERVICE

          I hereby certify that I will electronically file the foregoing with the Clerk of Court

using the CM/ECF system which will then send a notification of such filing to the other parties

in this matter.


                                              /s/ Jenifer Wicks
                                              _________________________
                                              JENIFER WICKS
